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 UNITED STATES OF AMERICA              )             CR NO. 06-6001 1-AA
                v.                     1
 JOSEPH DIBEE, aka "Seattle"           )             SECOND SUPERSEDING
 CHELSEA DAWN GERLACH, aka            )              INDICTMENT
 "Country Girl,"                       1
 KENDALL TANKERSLEY, aka "Sarah        )             [ l 8 U.S.C. $5 371,
 Kendall Harvey", aka "Kendall,"       )             844(f), 844(i), 844(n),
 DANIEL GERARD McGOWAN, aka "Sorrell" )              924(c)(l)(A)(i) & (B)(ii) &
 and "Jamie,"                          )             (C)(ii), 1366(a), and 21
 STANISLAS GREGORY MEYERHOFF,         )
 akaaCountry Boy" and "Jack,"          )
JOSEPHINE SUNSHINE OVERAKER, aka )
"Maria,"                              1
JONATHAN CHRISTOPHER MARK PAUL, )
aka "J.P.,"                           )
REBECCA RUBIN, aka "Kara,"            1
SUZANNE SAVOIE, aka "India,"          )
DARREN TODD THURSTON,                 )
KEVIN TUBBS, aka "Bob" and "Dog",     )
NATHAN FRASER BLOCK, aka "Exile" and )
"Hasan," and                          1
JOYANNA L. ZACHER, aka "Sheba" and
"Sabina,"                             1
                                              1
                   Defendants.

                           THE GRAND JURY CHARGES:

                                       COUNT 1

                        CONSPIRACY TO COMMIT ARSON

I.    OBJECT OF THE CONSPIRACY

     Beginning in October 1996 and continuing through December 2005, in the District of

Oregon and elsewhere, defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS,



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 STANISLAS GREGORY MEYERHOFF, DANIEL GERARD McGOWAN, JOSEPH DIBEE,

 REBECCA RUBIN, CHELSEA DAWN GERLACH, KENDALL TANKERSLEY, SUZANNE

 SAVOIE, JONATHAN CHRISTOPHER MARK PAUL, DARREN TODD THURSTON,

 NATHAN FRASER BLOCK, and JOYANNA L. ZACHER, and unindicted co-conspirator

 WILLIAM C. RODGERS, and other persons known and unknown to the Grand Jury, willfully

and knowingly conspired and agreed to commit the following offenses against the United States:

        to maliciously damage or destroy, or attempt to damage or destroy, by means of

        fire or an explosive, any building, vehicle or other personal or real property in

        whole or in part owned or possessed by, or leased to, the United States or any

        department or agency thereof, in violation of Title 18, United States Code, Section

        844(f)(l); and

       to maliciously damage or destroy, or attempt to damage or destroy, by means of

       fire or an explosive, any building, vehicle or other real or personal property used

       in interstate commerce or in any activity affecting interstate commerce, in

       violation of Title 18, United States Code, Section 844(i).

11.    MANNER AND MEANS OF THE CONSPIRACY

       The foregoing objects of the conspiracy were to be accomplished in the following manner

and means by the above-listed defendants and others at various times during the course of the

conspiracy:

       1.      Certain of the defendants and others joined together in a group they called the

"Family." This "Family" was what is commonly known as a "cell" of groups and movements




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 publicly named and described by certain of the defendants and others as the Earth Liberation

 Front (ELF), the Animal Liberation Front (ALF), and other names.

          2.    The general purposes of the conspiracy were to influence and affect the conduct

 of government, commerce, private business and others in the civilian population by means of

 force, violence, sabotage, mass destruction, intimidation and coercion, and by similar means to

retaliate against the conduct of government, commerce and private business. To achieve these

purposes, the conspirators committed and attempted to commit acts dangerous to human life and

property that constituted violations of the criminal laws of the United States and of individual

states.

          3.    Certain of the defendants and others targeted for arson buildings, vehicles and

other real and personal property owned, possessed, and leased by the United States and its

departments and agencies.

          4.    Certain of the defendants and others targeted for arson buildings, vehicles and

other real and personal property used in interstate commerce and in activities affecting interstate

commerce.

          5.    Certain of the defendants and others conducted and participated in meetings to

plan arsons of the targeted sites. Several of these meetings were called "book club" meetings by

the defendants and others and occurred at distant locations. The "book club" meetings covered

subjects such as lock-picking, computer security, reconnaissance of targets, and manufacture of

timing devices to set off improvised incendiary devices.

          6.   Certain of the defendants and others conducted research and surveillance of sites

targeted for arson.


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        7.      In discussing their actions among themselves, certain of the defendants and others

used code words, code names, and nicknames.

        8.      Certain of the defendants and others designed and constructed destructive devices

which functioned as incendiary bombs to ignite fires and destroy the targets.

        9.      Certain of the defendants and others provided transportation to the sites targeted

for arson.

        10.     Certain of the defendants and others dressed in dark clothing, wore masks and

gloves and otherwise disguised their appearance.

        11.    Certain of the defendants and others acted as "look-outs" to ensure secrecy as the

crimes were carried out.

        12.    Certain of the defendants and others placed destructive devices and accelerants at

sites targeted for arson and ignited or attempted to ignite the devices and accelerants.

        13.    Certain of the defendants and others, by means of fire and explosives, maliciously

damaged and destroyed, and attempted to damage and destroy, buildings, vehicles and other real

and personal property owned and possessed by the United States and its departments and

agencies.

        14.    Certain of the defendants and others, by means of fire and explosives, maliciously

damaged and destroyed, and attempted to damage and destroy, buildings, vehicles and other real

and personal property used in interstate commerce and in activities affecting interstate

commerce.




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          15.    In some of the arsons and attempted arsons, certain of the defendants and others

 painted messages on the walls of the targets, including "Earth Liberation Front," "ELF" and

 related names and statements concerning the purposes of the crimes.

          16.    After the arsons and attempted arsons, certain of the defendants and others

 provided transportation away from the scenes of the crimes.

          17.   After the arsons and attempted arsons, certain of the defendants and others

 destroyed, buried, hid and otherwise disposed of physical evidence used in the commission of the

crimes.

          18.   After the arsons, certain of the defendants and others publicized and promoted the

results of the fires by means of written press releases and communiques attributing the arsons to

the Earth Liberation Front (ELF), the Animal Liberation Front (ALF) and related groups, and

stating the purposes of the arsons.

          19.   Before, during and after the arsons and attempted arsons, certain of the defendants

and others agreed and took an oath among themselves never to reveal to law enforcement

authorities or to anyone else outside "the Family" the identity of the conspirators and participants

in the arsons and attempted arsons.

        20.     Before, during and after the arsons and attempted arsons, certain of the defendants

and others agreed among themselves to conceal or destroy any evidence connecting them to the

arsons and attempted arsons.

        21.     Before, during and after the arsons and attempted arsons, certain of the defendants

and others possessed andor used false identification documents in order to conceal their true

identities.


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          22.    After the arsons and attempted arsons, certain of the defendants and others fled

 and secreted themselves in foreign countries in order to avoid detection and arrest by law

 enforcement authorities in the United States.

 111.     OVERT ACTS

          In order to carry out the objects of the conspiracy, defendants and other persons

committed various overt acts within the District of Oregon and elsewhere, including but not

limited to the following:

          1.     On or about October 28, 1996, in Marion County, Oregon, defendant JOSEPHINE

SUNSHINE OVERAKER and other persons known to the Grand Jury, unlawhlly and willfully

caused and aided, abetted, counseled, commanded, induced, and procured the attempt to damage

or destroy, by means of fire and an explosive, a building and other real and personal property

owned and possessed by the United States and the United States Forest Service of the

Department of Agriculture, located at the Detroit Ranger Station on the Willamette National

Forest.

          1a.    At a time prior to October 28,1996, JOSEPHINE SUNSHINE OVERAKER and

another person known to the Grand Jury prepared and tested a time-delayed incendiary device.

          lb.   On or about October 28,1996, JOSEPHINE SUNSHINE OVERAKER and other

persons known to the Grand Jury drove to the U.S. Forest Service Detroit Ranger Station in

Marion County, Oregon, with an incendiary device which was placed on the roof of a U.S.

Forest Service building. That incendiary device failed to function.




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        lc.     On or about October 28,1996, JOSEPHINE SUNSHINE OVERAKER and

 another person known to the Grand Jury spray-painted graffiti on the sides of a U.S. Forest

 Service building and vehicles which included the words "Earth Liberation Front."

        2.     On or about October 28, 1996 in Marion County, Oregon, defendant JOSEPHINE

SUNSHINE OVERAKER and other persons known to the Grand Jury, unlawfully and willfully

caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of a fire and an explosive, a vehicle and other real and

personal property owned and possessed by the United States and the United States Forest Service

of the Department of Agriculture, located at the Detroit Ranger Station on the Willamette

National Forest.

       2a.     On or about October 28, 1996, JOSEPHINE SUNSHINE OVERAKER and

another person known to the Grand Jury intended and caused fire damage to a U.S. Forest

Service vehicle.

       3.      On or about October 30, 1996, in Lane County, Oregon, defendants JOSEPHINE

SUNSHINE OVERAKER and KEVIN TUBBS, and another person known to the Grand Jury,

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property owned and possessed by the United States and the United

States Forest Service of the Department of Agriculture, located at the Oakridge Ranger Station

on the Willamette National Forest.




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          3a.    On or about October 30, 1996, in Lane County, Oregon, defendants JOSEPHINE

SUNSHINE OVERAKER and KEVIN TUBBS, and another person known to the Grand Jury,

drove to the U.S. Forest Service Oakridge Ranger Station, and set fire to the Ranger Station.

          3b.    On or about October 30, 1996, in Lane County, Oregon, defendants JOSEPHINE

SUNSHINE OVERAKER and KEVIN TUBBS, and another person known to the Grand Jury,

while leaving the parking lot of the U.S. Forest Service Oakridge Ranger Station, threw nails

onto the parking lot in order to slow down responding emergency vehicles.

          3c.   On or about October 30, 1996, in Lane County, Oregon, defendants JOSEPHINE

SUNSHINE OVERAKER and KEVIN TUBBS, and another person known to the Grand Jury,

while leaving the U.S. Forest Service Oakridge Ranger Station and driving westbound on

Highway 58 towards Eugene, Oregon, discarded their gloves in a reservoir near the Lowell

Bridge.

       4.       On or about July 21, 1997, at Redmond, Deschutes County, Oregon, defendants

KEVIN TUBBS, JOSEPH DIBEE and JONATHAN CHRISTOPHER MARK PAUL, and other

persons known to the Grand Jury, unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means of fire and

an explosive, of a building and other real and personal property used in interstate commerce and

in activities affecting interstate commerce, at Cavel West, Inc., 1607 SE Railroad, Redmond,

Oregon.

       4a.      Approximately one week prior to the July 21, 1997 arson at Cavel West, Inc.,

Defendants KEVIN TUBBS and JONATHAN CHRISTOPHER MARK PAUL and others




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 known and unknown to the Grand Jury went on a reconnaissance in order to locate a staging area

where the participants could complete final preparations prior to committing the arson.

        4b.      Prior to the July 2 1, 1997 arson at Cavel West Inc., defendant JONATHAN

CHRISTOPHER MARK PAUL and another person known to the Grand Jury prepared a mixture

of soap and petroleum products which was the fuel used in the time-delayed incendiary devises.

        4c.      On or about July 21, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE and

JONATHAN CHRISTOPHER MARK PAUL, and other persons known to the Grand Jury, drove

to the previously chosen staging area near Cavel West, Inc., and upon arrival dressed in dark

clothing, masks, and gloves, and dug a hole at the staging area in which to bury their dark

clothing upon completion of the arson.

        4d.      On or about July 2 1, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE and

JONATHAN CHRISTOPHER MARK PAUL, and other persons known to the Grand Jury,

completed a two-way radio check with one another and confirmed their scanner and radios

functioned properly.

        4e.     On or about July 2 1, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE and

JONATHAN CHRISTOPHER MARK PAUL, and other persons known to the Grand Jury, went

to the location of Cavel West, Inc., to place time-delayed incendiary devices on and about that

location.

       4f.      On or about July 21, 1997, defendant JOSEPH DIBEE drilled holes through the

wall of the Cavel West, Inc., facility so as to allow fuel to be poured directly into the building.

       4g.      On or about July 2 1, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE and

JONATHAN CHRISTOPHER MARK PAUL, and other persons known to the Grand Jury, upon


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placing the time-delayed incendiary devices at Cavel West, Inc., traveled back to the staging area,

removed their dark clothes and shoes, placed them in the hole, poured acid on the clothing in the

hole and then buried the items.

        4h.     On or about July 26, 1997, certain defendants in the Cavel West arson issued a

written communique attributing the fire to the Animal Liberation Front (ALF) and the Equine

and Zebra Liberation Front. The communique was publicized by Craig Rosebraugh of the

Liberation Collective in Portland, Oregon.

       4i.     Approximately three years after July 2 1, 1997, defendant JOSEPH DIBEE

contacted defendant KEVIN TUBBS and told KEVIN TUBBS to return to the staging area and

retrieve the buried clothes.

       5.      On or about November 30, 1997, in Harney County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, and REBECCA RUBIN, unindicted

co-conspirator WILLIAM C. RODGERS, and another person known to the Grand Jury,

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of buildings

and other real and personal property owned and possessed by the United States and the Bureau of

Land Management of the Department of the Interior, located at the Wild Horse and Burro

Facility, Bums, Harney County, Oregon.

       5a.     Approximately three months prior to November 30, 1997, defendants

JOSEPHINE SUNSHINE OVERAKER and KEVIN TUBBS, unindicted co-conspirator

WILLIAM C. RODGERS, and another person known to the Grand Jury, did a reconnaissance at




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 and near the Wild Horse and Burro Facility, to prepare themselves for the arson and horse

 release.

            5b.    Sometime prior to November 30,1997, Defendant JOSEPHINE SUNSHINE

 OVERAKER and another person known to the Grand Jury, obtained five-gallon, white plastic

buckets and the fuel to be used in making time-delayed incendiary devices.

        5c.       Sometime prior to November 30, 1997, persons known and unknown to the Grand

Jury, prepared the five-gallon plastic buckets by wiping the buckets to ensure all fingerprints

were removed, and painted them with black spray paint.

        5d.       Sometime prior to November 30, 1997, defendants JOSEPHINE SUNSHINE

OVERAKER, KEVIN TUBBS and REBECCA RUBIN, unindicted co-conspirator WILLIAM C.

RODGERS, and another person known to the Grand Jury, obtained additional components and

assembled time-delayed incendiary devices, which were composed of kitchen timers, matches,

sponges, model rocket igniters, one-gallon jugs filled with fuel and five-gallon buckets which

contained &el.

        5e.       On or about November 30,1997, defendants JOSEPHINE SUNSHINE

OVERAKER, KEVIN TUBBS and REBECCA RUBIN, unindicted co-conspirator WILLIAM C.

RODGERS, and another person known to the Grand Jury, arrived at the Wild Horse and Burro

Facility, cut the lock on the front gate, released horses and burros, placed time-delayed incendiary

devices in and around the facility and left the area.

       Sf.        On or about December 5, 1997, certain defendants in the Wild Horse and Bums

Facility arson issued a communique attributing the fire and horse release to the Earth Liberation




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 Front (ELF) and the Animal Liberation Front (ALF). The communique was publicized by Craig

 Rosebraugh of the Liberation Collective in Portland, Oregon.

         6.        On or about June 21, 1998, at Olympia, Washington, in the Western District of

Washington, defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS and JOSEPH

DIBEE, unindicted co-conspirator WILLIAM C. RODGERS, and another person known to the

Grand Jury, willfully caused and aided, abetted, counseled, commanded, induced, and procured

the malicious damaging and destroying, by means of fire and an explosive, of a building and

other real and personal property leased and possessed by the United States and the Animal, Plant

and Health Inspection Service (APHIS) of the Department of Agriculture, located at the National

Wildlife Research Facility, 9701 Blomberg Street SW, Olympia, Washington.

        6a.        Approximately two weeks before June 2 1,1998, defendants KEVIN TUBBS and

JOSEPH DIBEE, and other persons known and unknown to the Grand Jury, met in Olympia,

Washington, to discuss plans for the APHIS arson, and agreed at that time there would be a

second and simultaneous arson committed when the APHIS arson was to occur.

        6b.        At a time prior to June 2 1,1998, defendant JOSEPHINE SUNSHINE

OVERAKER and other persons known to the Grand Jury prepared five-gallon buckets by

wiping the buckets to remove any fingerprints, and obtained fuel for the APHIS arson.

        6c.        At a time prior to June 2 1, 1998, defendant KEVIN TUBBS utilized false

identification to acquire a van which was used in the APHIS arson.

        6d.        On or about June 2 1,1998, defendant JOSEPHINE SUNSHINE OVERAKER,

while attempting to steal items in preparation for the APHIS arson, was arrested by authorities

for shoplifting.


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          6e.   On or about June 21, 1998, defendant KEVIN TUBBS and another person known

 to the Grand Jury transferred five-gallon buckets of fuel to be used in the APHIS arson from a

 van purchased by KEVIN TUBBS to a vehicle owned by unindicted co-conspirator WILLIAM C.

 RODGERS.

          6f.   On or about June 21, 1998, defendant KEVIN TUBBS, unindicted co-conspirator

WILLIAM C. RODGERS, and another person known to the Grand Jury, drove to the APHIS

facility and placed five-gallon buckets filled with fuel at locations at and around the facility, and

ignited the fuel-filled buckets by hand.

          6g.   On or about June 22, 1998, certain defendants in the APHIS arson issued a

communique attributing the fire to the Earth Liberation Front (ELF) and the Animal Liberation

Front (ALF). The communique was publicized by Katie Fedor of the North American ALF Press

Office.

          6h.   At a time after June 22, 1998, defendant KEVIN TUBBS assisted in the disposal

of the van used in the APHIS arson.

          7.    In about September 1998, at Rock Springs, Wyoming, in the District of Wyoming,

defendants KEVIN TUBBS and REBECCA RUBIN, and unindicted co-conspirator WILLIAM

C. RODGERS, and other persons known and unknown to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the attempt to

damage or destroy, by means of fire and an explosive, a building and other real and personal

property owned and possessed by the United States and the Bureau of Land Management of the

Department of the Interior, located at the Wild Horse Holding Facility, Rock Springs, Wyoming.




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        7a.     In or about September 1998, defendants KEVIN TUBBS and REBECCA RUBIN,

 unindicted co-conspirator WILLIAM C. RODGERS, and other persons known and unknown to

 the Grand Jury, arrived at the staging area near Rock Springs, Wyoming, assigned roles, prepared

 time-delayed incendiary devices, and made preparations for the arson, when a law enforcement

officer made inquiry as to their presence at that location.

        7b.     In or about September, 1998, defendants KEVIN TUBBS and REBECCA

RUBIN, unindicted co-conspirator WILLIAM C. RODGERS, and other persons known and

unknown to the Grand Jury, buried the time-delayed incendiary devices in an attempt to avoid

detection.

        8.     On or about October 11, 1998, at Rock Springs, Wyoming, in the District of

Wyoming, defendants JOSEPHINE SUNSHINE OVEKAKER, KEVIN TUBBS, STANISLAS

GREGORY MEYERHOFF and CHELSEA DAWN GERLACH, unindicted co-conspirator

WILLIAM C. RODGERS, and other persons known to the Grand Jury, unlawfully and willfully

caused and aided, abetted, counseled, commanded, induced, and procured the attempt to damage

and destroy, by means of fire and an explosive, buildings and other real and personal property

owned and possessed by the United States and the Bureau of Land Management of the

Department of the Interior, located at the Wild Horse Holding Facility, Rock Springs, Wyoming.

       8a.     On or about October 11, 1998, defendants JOSEPHINE SUNSHINE

OVERAKER, KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF and CHELSEA

DAWN GERLACH, unindicted co-conspirator WILLIAM C. RODGERS, and other persons

known and unknown to the Grand Jury, brought digital timers, containers of fuel, two-way radios

and a scanner, to a staging area near the Wild Horse Holding Facility.


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            8b.   On or about October 11, 1998, at Rock Springs, Wyoming, defendants

 JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

 MEYERHOFF and CHELSEA DAWN GERLACH, unindicted co-conspirator WILLIAM C.

RODGERS, and other persons known to the Grand Jury, went to the Wild Horse Holding

Facility, and began the release of horses and the placing of incendiary devices in and about the

facility.

        8c.       On or about October 11, 1998, at Rock Springs, Wyoming, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF and CHELSEA DAWN GERLACH, unindicted co-conspirator WILLIAM C.

RODGERS, and other persons known to the Grand Jury, hid timing devices in large rock out-

croppings near the Wild Horse Holding Facility, after hearing on their scanner that police had

been dispatched to their location.

        8d.       On or about November 13, 1998, certain defendants in the Wild Horse Holding

Facility attempted arson issued a statement attributing responsibility for the horse release and

attempted arson to the Animal Liberation Front (ALF).

        9.        On or about October 19, 1998, in Eagle County, Colorado, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF and CHELSEA DAWN GERLACH, unindicted co-conspirator WILLIAM C.

RODGERS, and other persons known and unknown to the Grand Jury, unlawfully and willfully

caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and explosives, of buildings and other real and




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 personal property used in interstate commerce and in activities affecting interstate commerce, at

 the Vail Ski Facility.

        9a.     On or about October 2 1, 1998, certain defendants in the Vail arson issued a

communique attributing the fire to the Earth Liberation Front (ELF).

        10.     On or about December 22, 1998, at Medford, Jackson County, Oregon, defendants

KENDALL TANKERSLEY, KEVIN TUBBS and REBECCA RUBIN, and another person

known to the Grand Jury, unlawfklly and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the attempt to damage or destroy, by means of fire and an

explosive, a building and other real and personal property used in interstate commerce and used

in activities affecting interstate commerce, namely, an office building and its contents at U.S.

Forest Industries, 26 11 Whittle Avenue, Medford, Jackson County, Oregon.

        lOa.    A few weeks prior to December 22, 1998, defendants KENDALL

TANKERSLEY, KEVIN TUBBS and REBECCA RUBIN, and another person known to the

Grand Jury, performed a reconnaissance and "dry run" for the arson at the U.S. Forest Industries

building in Medford, Oregon.

        lob.    On or about December 22, 1998, at Medford, Jackson County, Oregon, defendants

KENDALL TANKERSLEY, KEVIN TUBBS and REBECCA RUBIN, and another person

known to the Grand Jury, placed time-delayed incendiary devices at and about the U.S. Forest

Industries building.

        10c.   Prior to December 27, 1998, after placement of the time-delayed incendiary

devices at the U.S. Forest Industries building, defendant KENDALL TANKERSLEY, and




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 another person known to the Grand Jury searched the ~nediaand found no mention of the burning

 of the U.S. Forest Industries building.

        10d.    Between December 22 and 27, 1998, defendant KENDALL TANKERSLEY and

another person known to the Grand Jury returned to the U.S. Forest Industries building to check

on the destructive devices.

        11.     On or about December 27, 1998, at Medford, Jackson County, Oregon, defendant

KENDALL TANKERSLEY and another person known to the Grand Jury unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a building and other real and

personal property used in interstate commerce and used in activities affecting interstate

commerce, namely, an office building and its contents at U.S. Forest Industries, 261 1 Whittle

Avenue, Medford, Jackson County, Oregon.

        1la.   On or about December 27,1998, defendant KENDALL TANKERSLEY and

another person known to the Grand Jury returned to the U.S. Forest Industries building, placed a

new time-delayed incendiary device at or about the building and left the area.

        11b.   On or about December 27, 1998, defendant KENDALL TANKERSLEY and

another person known to the Grand Jury, traveled to Dunsmuir, California, to avoid detection.

        11c.   On or about December 27, 1998, defendant KENDALL TANKERSLEY

registered under a false name in the Cedar Lodge Motel in Dunsmuir, California.

       1ld.    On or about January 16, 1999, certain defendants in the U.S. Forest Industries

arson issued a communique attributing the fire to the Earth Liberation Front (ELF). The




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 communique was publicized by Craig Rosebraugh of the Liberation Collective in Portland,

 Oregon.

        12.     On or about May 9, 1999, at Eugene, Lane County, Oregon, defendants

 JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

 MEYERHOFF, CHELSEA DAWN GERLACH, and other persons known to the Grand Jury,

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property used in interstate commerce and in activities affecting

interstate commerce, at Childers Meat Company, 29476 Airport Road, Eugene, Lane County,

Oregon.

        12a.   On or about May 9, 1999, defendants JOSEPHINE SUNSHINE OVERAKER,

KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF and CHELSEA DAWN GERLACH,

and other persons known to the Grand Jury, prepared five-gallon buckets, timers and he1 for the

arson which was to occur at the Childers Meat Company, Eugene, Oregon.

        12b.   On or about May 9, 1999, defendants JOSEPHINE SUNSHINE OVERAKER,

KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF and CHELSEA DAWN GERLACH,

and other persons known to the Grand Jury, traveled to the Childers Meat Company and placed

one time-delayed incendiary device near the front of the office building and placed another such

device at the back of the building near a gas meter.

       12c.    On or about May 27, 1999, certain defendants in the Childers arson issued a

communique attributing the fire to the Animal Liberation Front (ALF). The communique was

publicized by the ALF Frontline Information Service.


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        13.     On or about December 25, 1999, at Monmouth, Polk County, Oregon, defendants

 JOSEPHINE SUNSHINE OVERAKER, STANISLAS GREGORY MEYERHOFF and

CHELSEA DAWN GERLACH, and another person known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a building and other real and

personal property used in interstate commerce and in activities affecting interstate commerce, at

the Boise Cascade Office, 450 North Pacific Avenue, Monmouth, Polk County, Oregon.

        13a.   On or about December 25,1999, defendants JOSEPHINE SUNSHINE

OVERAKER, STANISLAS GREGORY MEYERHOFF and CHELSEA DAWN GERLACH,

and another person known to the Grand Jury, prepared time-delayed incendiary devices to be

used at the Boise Cascade Office, and, after disguising the devices by wrapping them in

Christmas paper, transported the devices to the Boise Cascade Office location.

       13b.    On or about December 25, 1999, at Monmouth, Polk County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, STANISLAS GREGORY MEYERHOFF and

CHELSEA DAWN GERLACH, and another person known to the Grand Jury, placed time-

delayed incendiary devices at and about the Boise Cascade Office building and left the area.

       13c.    On or about December 30, 1999, certain defendants in the Boise Cascade arson

issued a communique attributing the fire to the Earth Liberation Front (ELF). The communique

was publicized by Craig Rosebraugh of the Liberation C:ollective in Portland, Oregon, and the

North American ELF Press Office.

       14.     During 2000 and 2001, several of the defendants and others known and unknown




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 to the grand jury met in what the participants called "book club" meetings. These meetings

 occurred in Eugene, Oregon; Tuscan, Arizona; Santa Cmz, California; and Sisters, Oregon. The

 participants conducted classes at these meetings in clandestine methods, including the

 manufacture of mechanical and electrical timing devices for setting off improvised incendiary

 devices, reconnaissance of targets, lock-picking, and computer security.

        15.     On or about September 6,2000, at Eugene, Lane County, Oregon, defendants

STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS and CHELSEA DAWN GERLACH,

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property used in interstate commerce and in activities affecting

interstate commerce, at the Eugene Police Department West University Public Safety Station,

791 East 13thAvenue, Eugene, Oregon.

        15a.   On or about September 6,2000, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS and CHELSEA DAWN GERLACH traveled to the Eugene

Police Department West University Public Safety Station and placed time-delayed incendiary

devices at and about the police station.

        16.    On or about January 2,2001, at Glendale, Douglas County, Oregon, defendants

STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN

and SUZANNE SAVOIE, and another person known to the Grand Jury, unlawfully and willfully

caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a building and other real and

personal property used in interstate commerce and used in activities affecting interstate


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 commerce, namely, a building and its contents located at Superior Lumber Company, 2695

 Glendale Valley Road, Glendale, Douglas County, Oregon.

        16a.    On or about January 2,2001, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN and SUZANNE SAVOIE,

and another person known to the Grand Jury, traveled in separate vehicles to a predetermined

staging area at a rest area located just north of the town of Glendale, Oregon, on Interstate 5,

where they dressed in dark clothing and put on their radio earpieces and masks.

        16b.   On or about January 2,2001, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN and SUZANNE SAVOIE,

and another person known to the Grand Jury, traveled to the Superior Lumber Company building,

set up lookouts, positioned the bbpick-up"vehicle, placed the time-delayed incendiary devices,

and returned to the staging area.

       16c.    On or about January 2,2001, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN and SUZANNE SAVOIE,

and another person known to the Grand Jury, upon returning to the staging area, changed their

clothing and disposed of their dark clothing.

       16d.    On or about January 6,2001, certain defendants in the Superior Lumber Company

arson issued a communique attributing the fire to the Earth Liberation Front (ELF). The

communique was publicized by Craig Rosebraugh of the North American ELF Press Office.

       17.     On or about March 30,2001, at Eugene, Lane County, Oregon, defendants

STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, NATHAN FRASER BLOCK, and

JOYANNA L. ZACHER, and unindicted co-conspirator WILLIAM C. RODGERS, unlawfully


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and willfully caused and aided, abetted, counseled, commanded, induced, and procured the

malicious damaging and destroying, by means of fire and an explosive, of vehicles and other

personal property used in interstate commerce and in activities affecting interstate commerce, at

Joe Romania Chevrolet Truck Center, 1425 Walnut Street, Eugene, Oregon.

        17a.    On or about March 30,2001, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, NATHAN FRASER BLOCK, and JOYANNA L. ZACHER,

and unindicted co-conspirator WILLIAM C. RODGERS, traveled to Joe Romania Chevrolet

Truck Center and stationed KEVIN TUBBS and JOYANNA L. ZACHER as lookouts, while the

others placed an incendiary device and plastic containers filled with gasoline underneath the

vehicles and connected the vehicles and containers with rolled-up sheets soaked in gasoline.

        17b.    On or about March 3 1,2001, certain defendants in the Romania Chevrolet arson

issued a communique which was publicized by Craig Rosebraugh of the North American ELF

Press Office.

        18.     On or about May 21,2001, at Clatskanie, Columbia County, Oregon, defendants

STANISLAS GREGORY MEYERHOFF, KEVIN TUHBS, DANIEL GERARD McGOWAN,

CHELSEA DAWN GERLACH, NATHAN FRASER RLOCK, JOYANNA L. ZACHER and

SUZANNE SAVOIE, unindicted co-conspirator WILLIAM C. RODGERS, and other persons

known to the Grand Jury, unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means of fire and

an explosive, of buildings, vehicles and other real and personal property used in interstate

commerce and in activities affecting interstate commerce, at Jefferson Poplar Farm, 791 14

Collins Road, Clatskanie, Columbia County, Oregon.


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         18a.   At a time prior to May 2 1,2001, defendant STANISLAS GREGORY

 MEYERHOFF, NATHAN FRASER BLOCK, JOYANNA L. ZACHER, CHELSEA DAWN

 GERLACH, DANIEL GERARD McGOWAN, unindicted co-conspirator WILLIAM C.

RODGERS, and other persons known and unknown to the Grand Jury, participated in a meeting

in which it was decided by those present that two arsons would be carried out at the same time,

one at the Jefferson Poplar Farm in Clatskanie, Oregon, and the other at the University of

Washington Horticulture Center in Seattle, Washington.

        18b.    At a time prior to May 21,2001, defendants STANISLAS GREGORY

MEYERHOFF, CHELSEA DAWN GERLACH, and SUZANNE SAVOIE performed a

reconnaissance for the arson at the Jefferson Poplar Farm.

        18c.    On or about May 21,2001, STANlSLAS GREGORY MEYERHOFF, DANIEL

GERARD McGOWAN, NATHAN FRASER BLOCK, JOYANNA L. ZACHER, and

SUZANNE SAVOIE , and another person known to the Grand Jury, traveled to Jefferson Poplar

Farm.

        18d.    On or about May 2 1,2001, STANISLAS GREGORY MEYERHOFF, DANIEL

GERARD McGOWAN and others known and unknown to the Grand Jury, placed time-delayed

incendiary devices at several locations at and around the facility, with one of the locations being

adjacent to a large propane gas tank.

        18e.    On or about May 2 1,2001, certain defendants in the Jefferson Poplar Farm arson

spray-painted graffiti at the site attributing the action to the Earth Liberation Front (ELF).

        18f.    On or about June 1,2001, certain defendants in the Jefferson Poplar Farm arson

issued a communique attributing the fire, along with the University of Washington fire described


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 below, to the Earth Liberation Front (ELF). The communique was publicized by Craig

 Rosebraugh of the North American ELF Press Office.

        19.     On or about May 21, 2001, at Seattle, Washington, in the Western District of

 Washington, defendant STANISLAS GREGORY MEYERHOFF, CHELSEA DAWN

 GERLACH, unindicted co-conspirator WILLIAM C. RODGERS, and other persons known and

unknown to the Grand Jury, unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means of fire and

an explosive, of a building and other real and personal property used in interstate commerce and

in activities affecting interstate commerce, at the University of Washington Horticulture Center,

Seattle, Washington.

        19a.   At a time prior to May 2 1,2001, defendant STANISLAS GREGORY

MEYERHOFF, unindicted co-conspirator WILLIAM C'. ROGERS, and other persons known to

the grand jury, performed one or more reconnaissances of the University of Washington

Horticulture Center, Seattle, Washington.

        19b.   On or about June 1,2001, certain defendants in the University of Washington

arson issued a communique attributing the fire, along with the Jefferson Poplar Farm fire

described above, to the Earth Liberation Front (ELF). The communique was publicized by Craig

Rosebraugh of the North American ELF Press Office.

       20.     On or before May 28,2001, defendant STANISLAS GREGORY MEYERHOFF

and unindicted co-conspirator WILLIAM C. RODGERS authored and published a document

entitled "Setting Fire with Electrical Timers, an Earth Ljberation Front Guide" in order to expose

to a widespread audience their methods of operation and the design of the "Cat's Cradle"


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 incendiary device so that they would no longer be unique to the arsons committed by "the

 Family," thereby hindering detection by law enforcement.

         21.     On or about October 15,2001, at Litchfield, California, in the Eastern District of

 California, defendants STANISLAS GREGORY MEYERHOFF, JOSEPH DIBEE, REBECCA

RUBIN, KEVIN TUBBS, CHELSEA DAWN GERLACH and DARREN TODD THURSTON,

unindicted co-conspirator WILLIAM C. RODGERS, and other persons known and unknown to

the Grand Jury, unlawfully and willfully caused and aided, abetted, counseled, commanded,

induced and procured the malicious damaging and destroying, by means of fire and explosives,

of buildings and other real and personal property owned and possessed by the United States and

the Bureau of Land Management of the Department of the Interior, located at the Wild Horse

Facility, Litchfield, California.

        2 1a.   On or about October 15,2001, defendant STANISLAS GREGORY

MEYERHOFF and persons known and unknown to the Grand Jury placed time-delayed

incendiary devices at and about the Litchfield Wild Horse Facility.

        2 1b.   On or about October 30,2001, certain defendants in the Litchfield Wild Horse

Facility arson issued a communique attributing the fire to the Earth Liberation Front (ELF). The

communique was publicized by David Barbarash at the North American ALF Press Office.

        22.     On or about November 25, 2005, unindicted co-conspirator WILLIAM C.

RODGERS attempted to recruit a person known to the Grand Jury to participate in future direct

actions and stated: ". . .I'll be really energized and ready to set up. . .activities in ways that

haven't been seen before."




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        23.    On or about December 21,2005, defendants CHELSEA DAWN GERLACH and

DARREN TODD THURSTON possessed books and documents containing instructions on how

to engage in unlawful activities, including a book entitled "Advanced Anarchist Arsenal: Recipes

for Improvised Incendiaries and Explosives".

        24.    In order to conceal evidence and to hinder the investigation and prosecution of the

above-described crimes, and to facilitate the flight and concealment of certain of the defendants,

a number of overt acts occurred, including but not limited to the following:

       24a.    Defendants CHELSEA DAWN GERLACH and DARREN TODD THURSTON

possessed and used false identification documents, including those found in their possession on

December 7,2005, and discovered at their Portland residence on December 21,2005.

       24b.    On December 21,2005, defendants CHELSEA DAWN GERLACH and

DARREN TODD THURSTON possessed in their residence books and informational materials

with respect to manufacturing false identity documents.

       24c.    On December 21,2005, defendants CHELSEA DAWN GERLACH and

DARREN TODD THURSTON possessed in their residence large amounts of information on the

identities of other individuals, including many deceased persons.

       24d.    On December 7,2005, defendant KEVIN TUBBS possessed in a locked safe

false identity documents.

       24e.   Sometime after the Fall of 2001, defendant JOSEPHINE SUNSHINE

OVERAKER left the United States and fled to Europe.

       24f.   In or about the Spring of 2005, defendant REBECCA RUBIN returned to Canada.




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       24g.    On or about December 11,2005, defendant JOSEPH DIBEE left the United States

following contact by federal law enforcement agents.

         All of the above conduct violated Title 18, United States Code, Section 844(n).

                                             COUNT 2

                         CONSPIRACY TO COMMIT ARSON AND
                        DESTRUCTION OF AN ENERGY FACILITY

I.     OBJECT OF THE CONSPIRACY

       Beginning in October 1996 and continuing through December 2001, in the District of

Oregon and elsewhere, defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS,

STANISLAS GREGORY MEYERHOFF, DANIEL GERARD McGOWAN, JOSEPH DIBEE,

REBECCA RUBIN, CHELSEA DAWN GERLACH, KENDALL TANKERSLEY, SUZANNE

SAVOIE, JONATHAN CHRISTOPHER MARK PAUL, DARREN TODD THURSTON,

NATHAN FRASER BLOCK, and JOYANNA L. ZACHER, and unindicted co-conspirator

WILLIAM C. RODGERS, and other persons known and unknown to the Grand Jury, willfklly

and knowingly conspired and agreed to commit the following offenses against the United States:

       to maliciously damage or destroy, or attempt to damage or destroy, by means of

       fire or an explosive, any building, vehicle or other personal or real property in

       whole or in part owned or possessed by, or leased to, the United States or any

       department or agency thereof, in violation of Title 18, United States Code, Section

       844(f)(l);

      to maliciously damage or destroy, or attempt to damage or destroy, by means of

       fire or an explosive, any building, vehicle or other real or personal property used



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          in interstate commerce or in any activity affecting interstate commerce, in

          violation of Title 18, United States Code, Section 844(i); and

          to knowingly and willfully damage and attempt to damage the property of an

          energy facility of the United States involved in the transmission and distribution

          of electricity, in an amount exceeding or which would have exceeded $100,000, in

          violation of Title 18, United States Code, Section 1366(a).

11.       MANNER AND MEANS OF THE CONSPIRACY

          The foregoing objects of the conspiracy were to be accomplished in the following manner

by the above-listed defendants and others at various times during the course of the conspiracy:

          1.     Certain of the defendants and others joined together in a group they called the

"Family." This "Family" was what is commonly known as a "cell" of groups and movements

publicly named and described by certain of the defendants and others as the Earth Liberation

Front (ELF), the Animal Liberation Front (ALF), and ofher names.

          2.     The general purposes of the conspiracy were to influence and affect the conduct

of government, commerce, private business and others in the civilian population by means of

force, violence, sabotage, mass destruction, intimidation and coercion, and by similar means to

retaliate against the conduct of government, commerce and private business. To achieve these

purposes, the conspirators committed and attempted to commit acts dangerous to human life and

property that constituted violations of the criminal laws of the United States and of individual

states.




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        3.      Certain of the defendants and others targeted for arson buildings, vehicles and

other real and personal property owned, possessed, and leased by the United States and its

departments and agencies.

        4.      Certain of the defendants and another person targeted for willful damage an

energy facility of the United States involved in the transmission and distribution of electricity, in

an amount exceeding or which would have exceeded $1 00,000.

        5.     Certain of the defendants and others targeted for arson buildings, vehicles and

other real and personal property used in interstate commerce and in activities affecting interstate

commerce.

        6.     Certain of the defendants and others conducted and participated in meetings to

plan arsons and other damage of the targeted sites. Several of these meetings were called "book

club" meetings by the defendants and others, and occurred at different locations. The "book

club" meetings covered subjects such as lock-picking, reconnaissance of targets, and

manufacture of timing devices to set off improvised incendiary devices.

       7.      Certain of the defendants and others conducted research and surveillance of sites

targeted for arson and other damage.

       8.      In discussing their actions among themselves, certain of the defendants and others

used code words, code names, and nicknames.

       9.      Certain of the defendants and others designed and constructed destructive devices

which functioned as incendiary bombs to ignite fires and destroy the targets.

       10.     Certain of the defendants and others provided transportation to the sites targeted

for arson and other damage.


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         11.    Certain of the defendants and others dressed in dark clothing, wore masks and

 gloves and otherwise disguised their appearance.

         12.    Certain of the defendants and others acted as "look-outs" to ensure secrecy as the

 crimes were carried out.

        13.     Certain of the defendants and others placed destructive devices and accelerants at

 sites targeted for arson and ignited or attempted to ignite the devices and accelerants.

        14.     Certain of the defendants and others, by means of fire and explosives, maliciously

damaged and destroyed, and attempted to damage and destroy, buildings, vehicles and other real

and personal property owned and possessed by the United States and its departments and

agencies.

        15.     Certain of the defendants and others, by means of fire and explosives, maliciously

damaged and destroyed, and attempted to damage and destroy, buildings, vehicles and other real

and personal property used in interstate commerce and in activities affecting interstate

commerce.

        16.     Certain of the defendants and another person willfully damaged and attempted to

damage the property of an energy facility of the United States involved in the transmission and

distribution of electricity, in an amount exceeding or which would have exceeded $100,000.

        17.    In some of the arsons and attempted arsons, certain of the defendants and others

painted messages on the walls of the targets, including "Earth Liberation Front," "ELF" and

related names and statements concerning the purposes of the crimes.

       18.     After the arsons, attempted arsons, and other crimes, certain of the defendants and

others provided transportation away from the scenes of the crimes.


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         19.     After the arsons, attempted arsons, and other crimes, certain of the defendants and

others destroyed, buried, hid and otherwise disposed of physical evidence used in the

commission of the crimes.

        20.      After the arsons, certain of the defendants and others publicized and promoted the

results of the fires by means of written press releases and communiques attributing the arsons to

the Earth Liberation Front (ELF), the Animal Liberation Front (ALF) and related groups, and

stating the purposes of the arsons.

        21.     Before, during and after the arsons, attempted arsons and other crimes, certain of

the defendants and others agreed and took an oath among themselves never to reveal to law

enforcement authorities or to anyone else outside "the Family" the identity of the conspirators

and participants in the arsons, attempted arsons and other crimes.

        22.     Before, during and after the arsons, attempted arsons and other crimes, certain of

the defendants and others agreed among themselves to conceal or destroy any evidence

connecting them to the arsons, attempted arsons and other crimes.

        23.     Before, during and after the arsons, attempted arsons and other crimes, certain of

the defendants and others possessed andlor used false identification documents in order to

conceal their true identities.

        24.     After the arsons, attempted arsons and other crimes, certain of the defendants and

others fled and secreted themselves in foreign countries in order to avoid detection and arrest by

law enforcement authorities in the United States.

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 111.   OVERT ACTS

        In order to carry out the objects of the conspiracy, defendants and other persons

 committed various overt acts within the District of Oregon and elsewhere, including but not

 limited to the following:

        1.       All overt acts in Count 1 above are hereby realleged and incorporated into Count

 2.

        2.       As a further overt act in Count 2, on or about December 30, 1999, in Deschutes

County, Oregon, defendants JOSEPHINE SUNSHINE OVERAKER, STANISLAUS

GREGORY MEYERHOFF and CHELSEA DAWN GERLACH, and another person known to

the Grand Jury, willfully damaged and attempted to damage the property of an energy facility of

the United States, namely, a Bonneville Power Administration tower, involved in the

transmission and distribution of electricity near the City of Bend, Oregon, in an amount

exceeding or which would have exceeded $100,000.

             All of the above conduct violated Title 18, United States Code, Section 371.

                                             COUNT 3

                                             -
                   ATTEMPTED ARSON DETROIT RANGER STATION

        On or about October 28, 1996, in Marion County, Oregon, in the District of Oregon,

defendant JOSEPHINE SUNSHINE OVERAKER and other persons known to the Grand Jury,

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the attempt to damage or destroy, by means of fire and an explosive, a building and

other real and personal property owned and possessed by the United States and the United States

Forest Service of the Department of Agriculture, located at the Detroit Ranger Station on the


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 Willamette National Forest; all in violation of Title 18, United States Code, Sections 844(f) and



                                             COUNT 4

                    ARSON - DETROIT RANGER STATION VEHICLE

        On or about October 28, 1996, in Marion County, Oregon, in the District of Oregon,

defendant JOSEPHINE SUNSHINE OVERAKER and other persons known to the Grand Jury,

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire, of a vehicle and other real and

personal property owned and possessed by the United States and the United States Forest Service

of the Department of Agriculture, located at the Detroit Ranger Station on the Willarnette

National Forest; all in violation of Title 18, United States Code, Sections 844(f) and 2.

                                             COUNT 5

                         ARSON - OAKRIDGE RANGER STATION

        On or about October 30, 1996, in Lane County, Oregon, in the District of Oregon,

defendants JOSEPHINE SUNSHINE OVERAKER and KEVIN TUBBS, and another person

known to the Grand Jury, unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means of fire and

an explosive, of a building and other real and personal property owned and possessed by the

United States and the United States Forest Service of the Department of Agriculture, located at

the Oakridge Ranger Station on the Willamette National Forest; all in violation of Title 18,

United States Code, Sections 844(f) and 2.

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                                            COUNT 6

                                   ARSON - CAVEL WEST

        On or about July 21, 1997, at Redmond, Deschutes County, Oregon, in the District of

Oregon, defendants KEVIN TUBBS, JOSEPH DIBEE, and JONATHAN CHRISTOPHER

MARK PAUL, and other persons known to the Grand Jury, unlawfully and willfully caused and

aided, abetted, counseled, commanded, induced, and procured the malicious damaging and

destroying, by means of fire and an explosive, of a building and other real and personal property

used in interstate commerce and in activities affecting interstate commerce, at Cave1 West, Inc.,

1607 SE Railroad, Redmond, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                           COUNT 7

                ARSON - BLM WILD HORSE FACILITY, BURNS, OREGON

       On or about November 30, 1997, in Harney County, Oregon, in the District of Oregon,

defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS and REBECCA RUBIN,

unindicted co-conspirator WILLIAM C. RODGERS, and another person known to the Grand

Jury, unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of buildings

and other real and personal property owned and possessed by the United States and the Bureau of

Land Management of the Department of the Interior, located at the Wild Horse and Burro

Facility, Bums, Harney County, Oregon; all in violation of Title 18, United States Code, Sections

844(f) and 2.

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                                             COUNT 8

                    ATTEMPTED ARSON - U.S. FOREST INDUSTRIES

        On or about December 22, 1998, at Medford, Jackson County, Oregon, in the District of

 Oregon, defendants KENDALL TANKERSLEY, KEVIN TUBBS, and REBECCA RUBIN, and

 another person known to the Grand Jury, unlawfully and willfully caused and aided, abetted,

 counseled, commanded, induced, and procured the attempt to damage or destroy, by means of

fire and an explosive, a building and other real and personal property used in interstate commerce

and used in activities affecting interstate commerce, namely, an office building and its contents at

U.S. Forest Industries, 261 1 Whittle Avenue, Medford, Jackson County, Oregon; all in violation

of Title 18, United States Code, Sections 844(i) and 2.

                                            COUNT 9

                            ARSON - U.S. FOREST INDUSTRIES

       On or about December 27, 1998, at Medford, Jackson County, Oregon, in the District of

Oregon, defendant KENDALL TANKERSLEY and another person known to the Grand Jury,

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property used in interstate commerce and used in activities affecting

interstate commerce, namely, an office building and its contents at U.S. Forest Industries, 261 1

Whittle Avenue, Medford, Jackson County, Oregon; all in violation of Title 18, United States

Code, Sections 844(i) and 2.

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                                               COUNT 10

                           ARSON - CHILDERS MEAT COMPANY

        On or about May 9, 1999, at Eugene, Lane County, Oregon, in the District of Oregon,

 defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

 MEYERHOFF and CHELSEA DAWN GERLACH, and other persons known to the Grand Jury,

 unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property used in interstate commerce and in activities affecting

interstate commerce, at Childers Meat Company, 29476 Airport Road, Eugene, Oregon; all in

violation of Title 18, United States Code, Sections 844(i) and 2.

                                           COUNT 11

                                           -
                                 ARSON BOISE CASCADE

       On or about December 25, 1999, at Monmouth, Polk County, Oregon, in the District of

Oregon, defendants JOSEPHINE SUNSHINE OVERAKER, STANISLAS GREGORY

MEYERHOFF and CHELSEA DAWN GERLACH, and another person known to the Grand

Jury, unlawfully and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property used in interstate commerce and in activities affecting

interstate commerce, at the Boise Cascade Office, 450 North Pacific Avenue, Monmouth, Polk

County, Oregon; all in violation of Title 18, United States Code, Sections 844(i) and 2.

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                                            COUNT 12

               DESTRUCTION OF AN ENERGY FACILITY - BPA TOWER

        On or about December 30, 1999, in Deschutes County, Oregon, in the District of Oregon,

 defendants STANISLAS GREGORY MEYERHOFF, JOSEPHINE SUNSHINE OVERAKER,

CHELSEA DAWN GERLACH, and others both known and unknown to the Grand Jury,

knowingly and willfully damaged and attempted to damage the property of an energy facility of

the Untied States, namely, a Bonneville Power Administration tower, involved in the

transmission and distribution of electricity near the City of Bend, Oregon, in an amount

exceeding or which would have exceeded $100,000; all in violation of Title 18, United States

Code, Section 1366(a).

                                           COUNT 13

                         ARSON     - EPD PUBLIC SAFETY STATION
       On or about September 6,2000, at Eugene, Lane County, Oregon, in the District of

Oregon, defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS and CHELSEA

DAWN GERLACH unlawfully and willfully caused and aided, abetted, counseled, commanded,

induced, and procured the malicious damaging and destroying, by means of fire and an explosive,

of a building and other real and personal property used in interstate commerce and in activities

affecting interstate commerce, at the Eugene Police Department West University Public Safety

Station, 791 East 1 3 ' ~Avenue, Eugene, Lane County, Oregon; all in violation of Title 18, United

States Code, Sections 844(i) and 2.

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                                            COUNT 14

                                   -
                         ARSON SUPERIOR LUMBER COMPANY

         On or about January 2,2001, at Glendale, Douglas County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN and SUZANNE SAVOIE, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a building and other real and personal property used in interstate

commerce and used in activities affecting interstate commerce, namely, a building and its

contents located at Superior Lumber Company, 2695 Glendale Valley Road, Glendale, Douglas

County, Oregon; all in violation of Title 18, United States Code, Sections 844(i) and 2.

                                           COUNT 15

             USING AND CARRYING A DESTRUCTIVE DEVICE
   IN RELATION TO A CRIME OF VIOLENCE - SUPERIOR LUMBER COMPANY

        On or about January 2,2001, at Glendale, Douglas County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF and DANIEL GERARD McGOWAN, and

others known and unknown to the Grand Jury, unlawfully and knowingly used and carried one or

more destructive devices, namely, one or more incendiary bombs, during and in relation to a

crime of violence, namely, arson, in violation of Title 18, United States Code, Section 844(i), as

charged in Count 14 of this indictment, and possessed such destructive devices in furtherance of

such crime; all in violation of Title 18, United States Code, Sections 924(c)(l)(A)(i) & (B)(ii) &

(C)(ii) and 2.

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                                            COUNT 16

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26U4 1G2O9 163, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 17

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEK13T7 lRl54866, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 18

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              ARSON ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26G8 1G235050, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 19

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             ARSON ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26G8 1G203 103, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                             COUNT 20

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

 defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFKl6T3 1Gl97472, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 21

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

lGNEK13TO 1J18 1082, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 22

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfidly and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

lGNEKl3T4lRllOl62, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 23

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEK13T3 1J 150960, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                             COUNT 24

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

 defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

 counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T7 1G228593, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 25

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

lGNEK13T51R148547, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 26

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T71G226598, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 27

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             ARSON ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T71G23Ol79, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 28

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEK13T8 lRl69490, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 29

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26G2 1G201069, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 30

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16TXlG206720, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 31

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T9 1G226585, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 32

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfuIly caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK 16T61G2298 16, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 33

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26U2 1GI 80066, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 34

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane Clounty, in the District of Oregon,

 defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26U8 1G18 1349, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 35

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 200 1 Tahoe, bearing Vehicle Identification Number

1GNEKl3T8 lRl60806, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 36

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 200 1, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16TOlG155650, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 37

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STAMSLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16TO 1G206838, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 38

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T3 1Gl95205, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 39

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16TXlG225834, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 40

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfilly caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

1GNFKl6T2 15242612, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 41

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26U8 1G1926 12, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 42

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEK13T7 1R116389, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 43

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T9 1G189098, located at Romania Chevrolet 'Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                             COUNT 44

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

 defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16TOlG198403, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 45

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Tahoe, bearing Vehicle Identification Number

1GNEKl3TO 1J 183320, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 46

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T9 1G2O7 194, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 47

             ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFKl6T8 1Gl93241, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 48

              ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

 defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNFK16T11GlO5629, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 49

                      -
             ARSON ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30, 2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 2001 Suburban, bearing Vehicle Identification Number

3GNGK26U81G179567, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.


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                                            COUNT 50

                 ARSON - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

 defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

 BLOCK, and JOYANNA L. ZACHER, unlawfully and willfully caused and aided, abetted,

 counseled, commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a vehicle used in interstate commerce and used in activities affecting

interstate commerce, namely, a 200 1 Suburban, bearing Vehicle Identification Number

3GNGK26G21G2 15392, located at Romania Chevrolet Truck Center, 1425 Walnut Street,

Eugene, Lane County, Oregon; all in violation of Title 18, United States Code, Sections 844(i)

and 2.

                                            COUNT 51

      USING AND CARRYING A DESTRUCTIVE DEVICE IN RELATION TO A
    CRIME OF VIOLENCE - ROMANIA CHEVROLET TRUCK CENTER VEHICLE

         On or about March 30,2001, at Eugene, Lane County, in the District of Oregon,

defendants KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, NATHAN FRASER

BLOCK, and JOYANNA L. ZACHER, unlawfully and knowingly used and carried one or more

destructive devices, namely, one or more incendiary bombs, during and in relation to a crime of

violence, namely, arson, in violation of Title 18, United States Code, Section 844(i), as charged

in Counts 16-50 of this indictment, and possessed such destructive devices in furtherance of such

crime; all in violation of Title 18, United States Code, Sections 924(c)(l)(A)(i) & (B)(ii) &

(C)(ii) and 2.



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                                            COUNT 52

          ATTEMPTED ARSON - JEFFERSON POPLAR FARM MAIN OFFICE

        On or about May 2 1,2001, at Clatskanie, Columbia County, in the District of Oregon,

 defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

 McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

 ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the attempt to

damage or destroy, by means of fire and an explosive, a building and other real and personal

property used in interstate commerce and used in activities affecting interstate commerce,

namely, the main office building and its contents located at Jefferson Poplar Farm, 791 14 Collins

Road, Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code,

Sections 844(i) and 2.

                                            COUNT 53

          USING AND CARRYING A DESTRUCTIVE DEVICE IN RELATION
             TO A CRIME OF VIOLENCE - JEFFERSON POPLAR FARM

        On or about May 2 1,2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully

and knowingly used and carried one or more destructive devices, namely, one or more incendiary

bombs, during and in relation to a crime of violence, namely, attempt to commit arson, in

violation of Title 18, United States Code, Section 844(i), as charged in Count 52 of this



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 indictment, and possessed such destructive devices in furtherance of such crime; all in violation

 of Title 18, United States Code, Sections 924(c)(l)(A)(i) & (B)(ii) & (C)(ii) and 2.

                                            COUNT 54

                 ARSON - JEFFERSON POPLAR FARM - VEHICLE SHOP

        On or about May 2 1,2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a building and other real and

personal property used in interstate commerce and used in activities affecting interstate

commerce, namely, a vehicle shop and its contents located at Jefferson Poplar Farm, 791 14

Collins Road, Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States

Code, Sections 844(i) and 2.

                                           COUNT 55

                ARSON - JEFFERSON POPLAR FARM - SHOP & OFFICE

       On or about May 21,2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a building and other real and


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personal property used in interstate commerce and used in activities affecting interstate

commerce, namely, a shop and office building and its contents located at Jefferson Poplar Farm,

791 14 Collins Road, Clatskanie, Columbia County, Oregon; all in violation of Title 18, United

States Code, Sections 844(i) and 2.

                                           COUNT 56

                    ARSON - JEFFERSON POPLAR FARM - VEHICLE

       On or about May 2 1,2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STAMSLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully

and willfully caused and aided, abetted, counseled, commanded, induced, and procured the

malicious damaging and destroying, by means of fire and an explosive, of a vehicle used in

interstate commerce and used in activities affecting interstate commerce, namely, a 1997 Ford

truck bearing Oregon license number VHQ 660, located at Jefferson Poplar Farm, 791 14 Collins

Road, Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code,

Sections 844(i) and 2.

                                          COUNT 57

                   ARSON - JEFFERSON POPLAR FARM VEHICLE         -
       On or about May 2 1,2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully


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 and willfully caused and aided, abetted, counseled, commanded, induced, and procured the

malicious damaging and destroying, by means of fire and an explosive, of a vehicle used in

interstate commerce and used in activities affecting interstate commerce, namely, a 1984 Ford

truck bearing Oregon license number CXR 901, located at Jefferson Poplar Farm, 791 14 Collins

Road, Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code,

Sections 844(i) and 2.

                                           COUNT 58

                    ARSON - JEFFERSON POPLAR FARM - VEHICLE

        On or about May 21,2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1997 Ford truck

bearing Oregon license number VHQ 66 1, located at Jefferson Poplar Farm, 79 1 14 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                          COUNT 59

                   ARSON - JEFFERSON POPLAR FARM - VEHICLE

       On or about May 21, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD


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 McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

 ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

 willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

 damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

 commerce and used in activities affecting interstate commerce, namely, a 1997 Ford truck

 bearing Oregon license number VNS 404, located at Jefferson Poplar Farm, 791 14 Collins Road,

 Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

 844(i) and 2.

                                           COUNT 60

                    ARSON - JEFFERSON POPLAR FARM - VEHICLE

        On or about May 21,2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1996 Ford truck

bearing Oregon license number UMZ 923, located at Jefferson Poplar Farm, 791 14 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

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                                            COUNT 61

                     ARSON - JEFFERSON POPLAR FARM - VEHICLE

        On or about May 21,2001, at Clatskanie, Columbia County, in the District of Oregon,

 defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1990 Ford truck

bearing Oregon license number 283 ACE, located at Jefferson Poplar Farm, 791 14 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                           COUNT 62

                    ARSON - JEFFERSON POPLAR FARM VEHICLE        -
       On or about May 21,2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1990 Ford truck

bearing Oregon license number 282 ACE, located at Jefferson Poplar Farm, 791 14 Collins Road,


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 Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

 844(i) and 2.

                                           COUNT 63

                    ARSON - JEFFERSON POPLAR FARM VEHICLE        -
        On or about May 21, 2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfblly and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1990 Ford truck

bearing Oregon license number 361 ACC, located at Jefferson Poplar Farm, 791 14 Collins Road,

Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

                                          COUNT 64

                    ARSON - JEFFERSON POPLAR FARM - VEHICLE

       On or about May 2 1, 200 1, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroyng, by means of fire and an explosive, of a vehicle used in interstate


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 commerce and used in activities affecting interstate commerce, namely, a 1981 GMC truck

 bearing Oregon license number NA41574, located at Jefferson Poplar Farm, 79 114 Collins Road,

 Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

 844(i) and 2.

                                           COUNT 65

                    ARSON - JEFFERSON POPLAR FAR                   VEHICLE

        On or about May 21,2001, at Clatskanie, Columbia County, in the District of Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

ZACHER, and SUZANNE SAVOIE, and other persons known to the Grand Jury, unlawfully and

willfully caused and aided, abetted, counseled, commanded, induced, and procured the malicious

damaging and destroying, by means of fire and an explosive, of a vehicle used in interstate

commerce and used in activities affecting interstate commerce, namely, a 1989 Ford truck

bearing Oregon license number PWV 249, at Jefferson Poplar Farm, 791 14 Collins Road,

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Clatskanie, Columbia County, Oregon; all in violation of Title 18, United States Code, Sections

844(i) and 2.

       Dated this     / 7 Lyof May, 2006.

                                                    A TRUE BILL.

                                                       /s/ Grand Jury Foreperson




Presented by:

KARIN J. IMMERGUT
United States Attorney
District of Oregon



KIRK A. ENGDA
Assistant United St




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